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            Exhibit E
From: Harriet Edelman
                  Case
                    Case1:22-cv-02541-TNM
                         1:24-cv-05874-NRB Document
                                              Document120-2
                                                         38-5 Filed
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                                                                                  Page
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Sent: Wednesday, June 29, 2022 5:42 AM
To: Arlene Hong;Sue Gove
Subject: Re: Privileged Communication - FURTHER Discussion with Ryan Cohen

Please draft and we can at least make the next decision. Thx!

Get Outlook for iOS


From: Arlene Hong <Arlene.Hong@bedbath.com>
Sent: Tuesday, June 28, 2022 10:28:55 PM
To: Harriet Edelman <Harriet.Edelman@Consultant.Bedbath.com>; Sue Gove <Sue.Gove@Consultant.Bedbath.com>
Subject: RE: Privileged Communication - FURTHER Discussion with Ryan Cohen

 Harriet and Sue,

 As you already know, Ryan is subject to a standstill under the Cooperation Agreement that prohibits him from seeking more than
 the current three Board seats taken by Ben, Marjorie and Paul. It also prohibits him from seeking removal of any current directors.
 It might be a good idea to respond in an email to Ryan recapping your last conversation and reminding him about the standstill
 obligations. If you agree, I will work with Paul to craft this. He’s clearly not recalling the standstill with his asks and closing
 statement unless he’s thinking of a year out, which doesn’t seem likely.

 We can discuss once we get through tomorrow of course.

 Arlene

 From: Harriet Edelman <Harriet.Edelman@Consultant.Bedbath.com>
 Sent: Tuesday, June 28, 2022 7:46 PM
 To: Mary Winston <Mary.Winston@Consultant.Bedbath.com>; Andrea Weiss <Andrea.Weiss@Consultant.Bedbath.com>; Ann
 Yerger <Ann.Yerger@Consultant.Bedbath.com>; John Fleming <John.Fleming@Consultant.Bedbath.com>; Joshua Schechter
 <Joshua.Schechter@Consultant.Bedbath.com>; Jeffrey Kirwan <Jeffrey.Kirwan@Consultant.Bedbath.com>; Benjamin Rosenzweig
 <benjamin.rosenzweig@consultant.bedbath.com>; Shelly Lombard <shelly.lombard@consultant.bedbath.com>; Marjorie Bowen
 <marjorie.bowen@consultant.bedbath.com>; Virginia Ruesterholz <Virginia.Ruesterholz@Consultant.Bedbath.com>; Minesh Shah
 <Minesh.Shah@consultant.bedbath.com>; Sue Gove <Sue.Gove@Consultant.Bedbath.com>
 Cc: Paul J. Shim (pshim@cgsh.com) <pshim@cgsh.com>; Arlene Hong <Arlene.Hong@bedbath.com>
 Subject: Privileged Communication - FURTHER Discussion with Ryan Cohen

 All, I received a message from Ryan about 20 minutes after I wrote the recap below and he asked to get back together on zoom
 call, which I arranged. He shared the following:
         • He thought about our conversation; certain aspects of our financial situation remind him of GameStop
         • Feel like shrinking the board significantly and getting himself on the board is necessary to 7 members
         • By shrinking the board, specifically: me and Sue stay; Ben, Shelly and Rosemary; additional RCV candidates added
         • RC Ventures would help
         • Asked whether I could even indicate tomorrow the possibility of adding RCV directors

 I replied to this last point that it isn’t going to happen tomorrow, but of course will think about it (and share with the Board). I
 suggested we get through tomorrow, he’ll have the full information shared about the quarter and the Company/Board’s response,
 and is scheduled talk to Sue late afternoon; and we can pick up this conversation after earnings. He said okay…and closed with “If I
 can’t get into position, may sell my stock.”

 H

 Get Outlook for iOS

 From: Harriet Edelman <Harriet.Edelman@Consultant.Bedbath.com>
 Sent: Tuesday, June 28, 2022 6:13 PM
 To: Mary Winston; Andrea Weiss; Ann Yerger; John Fleming; Joshua Schechter; Jeffrey Kirwan; Benjamin Rosenzweig; Shelly
Lombard; Marjorie Bowen; Virginia Ruesterholz; Minesh Shah; Sue Gove
                    Case
                     Case1:22-cv-02541-TNM
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Cc: Paul J. Shim (pshim@cgsh.com); Arlene Hong
Subject: Privileged Communication - Discussion with Ryan Cohen

Call went well - longest one so far at ~ 45 minutes. His key areas of interest or other notes
      • Taken aback at results - all indicators - top line, margin, balance sheet
      • Leadership change - acknowledged the board’s action; was also interested in Mara’s background
      • I talked about Sue’s background - well matched for what we need and already in the saddle working on issues
      • SG&A - be very aggressive, “can’t cut enough;” called out “corporate” vs. stores, consulting, overhead
      • Cash flow and liquidity - asked if we were upsizing the revolver; would we consider selling shares; the 24s
      • Inventory - size of challenge; understands what BRG is being brought in to do; asked if we had cancelled any (yes); asked if
      sufficient controls on not bringing in more
      • CEO Succession - concerned about the risk of another outsider; asked are there no insiders ready/close to ready. He asked
      about criteria…I said early in process, getting past tomorrow. Welcomed a conversation on this at a later date.
      • We talked about Owned Brands - indicated we will be looking at the assortment and OB inventory a major piece of what
      we have to deal with
      • Baby - excerpted what we’re saying…he didn’t pick up the ball or comment on this
      • I offered and he wants to talk to Sue tomorrow afternoon instead of Thursday (which was previously scheduled with
      Mark), which we will make happen
      • Understands we will have a public update later in the summer
      • I believe message sent, message received about the Board’s sense of urgency and focus, company accountability for
      results vs. pointing to macro

H
